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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                     Case No. ___________—Civ

  PHAWA, LLC,
  a Florida limited liability company,

         Plaintiff,

  vs.

  MARJABA IMPORT & EXPORT CORP.,
  a Florida corporation,

        Defendant.
  __________________________________/

                                            COMPLAINT

         The Plaintiff, PHAWA, LLC, by and through the undersigned counsel, hereby files this

  action against the Defendant, MARJABA IMPORT & EXPORT CORP., and in support thereof

  states as follows:

                                   JURISDICTION AND VENUE

         1.      This Court has subject matter jurisdiction over this civil action as presenting a

  federal question pursuant to 28 U.S.C. § 1331 as Plaintiff’s claims arise under 7 U.S.C. § 499(b)(4)

  of the Perishable Agricultural Commodities Act (“PACA”).

         2.      This Court has supplemental jurisdiction over the Plaintiff’s state-law claims

  pursuant to 28 U.S.C. § 1367(a) as they are related to the Plaintiff’s PACA claim and form part of

  the same case or controversy.

         3.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) because a

  substantial portion of the events and omissions giving rise to the Plaintiff’s claims occurred in this




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  District; in addition, the Defendant does business and has its principal place of business in this

  District.

                                               PARTIES

           4.     The Plaintiff, PHAWA, LLC (“Phawa”), is a limited liability company organized

  under the laws of Florida with its principal place of business located in Osceola County, Florida.

           5.     Phawa is a “dealer” pursuant to 7 U.S.C. § 499(a)(6) as it is engaged in the business

  of buying and selling wholesale or jobbing quantities of perishable agricultural commodities, in

  particular avocados, in interstate and foreign commerce in excess of 2,000 pounds or more in

  weight in any given day, and has secured a valid license1 issued by the United States Department

  of Agriculture pursuant to 7 U.S.C. § 499(c).

           6.     The Defendant, MARJABA IMPORT & EXPORT CORP. (“Marjaba”), is a

  corporation incorporated under the laws of Florida with its principal place of business currently in

  Broward County, Florida, and at the time of all events alleged herein, in Miami-Dade County,

  Florida.

           7.     Marjaba is a “dealer” pursuant to 7 U.S.C. § 499(a)(6) as it is engaged in the

  business of buying and selling wholesale or jobbing quantities of perishable agricultural

  commodities in interstate and foreign commerce in excess of 2,000 pounds or more in weight in

  any given day shipped, received, or contracted to be shipped or received, and has secured a valid

  license2 issued by the United States Department of Agriculture pursuant to 7 U.S.C. § 499(c).

                                    GENERAL ALLEGATIONS

           8.     This is an action to enforce violations of PACA and Florida state-law.




  1
      License No. 20190963 issued on July 19, 2019.
  2
      License No. 20190800 issued on June 8, 2019.


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          9.     In the months of January and February 2021, Marjaba ordered from Phawa and

  Phawa sold and delivered to Marjaba roughly 80 tons of avocados, collectively worth $185,943.00,

  that moved through the stream of foreign and interstate commerce from Mexico to Texas to New

  York.

          10.    Marjaba inspected, received, and accepted the avocados so ordered and sold to it

  by Phawa, even coordinating the shipments from Texas to New York.

          11.    These transactions were memorialized in writing through Marjaba’s purchase

  orders and Phawa’s invoices (the “Sales Agreement”), which remain largely unpaid and are at least

  four months past due, to wit:

   Invoice             Purchase Order       Balance             Due Date         Number of Days
                                                                                 since Due Date
   Invoice 002-21      1012                 $1,440.00           01/25/2021       142 days
   Invoice 003-21      1014                 $48,560.00          01/29/2021       138 days
   Invoice 006-21      1016                 $43,116.50          02/09/2021       127 days

          A true and correct copy of the Invoices and Purchase Orders is attached hereto as

  Composite Exhibit A.

          12.    Phawa’s invoices stated in writing that its payment terms were net 10 days for

  Invoice 003-21 and net 15 days for Invoice 002-21 and 006-21; not once did Marjaba object to any

  terms of the invoices nor claim that the invoices did not accurately reflect the sales agreement

  between Phawa and Marjaba.

          13.    On the contrary, after issuing a series of partial payments in the aggregate amount

  of $92,826.50 in the month of January 2021 pursuant to the Sales Agreement, Marjaba admitted

  in an e-mail dated February 1, 2021, that it was behind on payment, that it needed just a few more

  days of "credit," and that it was going to settle the debt.




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          14.     The next day, Phawa responded favorably to Marjaba’s request for more time to

  pay its bill, to which Marjaba on February 18, 2021, responded by thanking Phawa for its

  cooperation and, importantly, advised Phawa that they would send a proposed payment plan the

  next day.

          15.     At this point, still, not once did Marjaba complain to Phawa or object to its receipt

  of the avocados purchased, nor did Marjaba reject the avocados on the basis of their quality or

  condition.

          16.     The invoices reflect a total amount due and owing by Marjaba in the amount of

  $93,116.50, which represents the unpaid price of the avocados purchased by Marjaba (excluding

  interest and costs).

          17.     Phawa in good faith attempted to come to an amicable agreement with Marjaba

  regarding non-payment of the avocados, and even considered a payment plan, but alas, Marjaba

  instead chose to ignore Phawa, keep the avocados, and disregard its payment obligations pursuant

  to the Sales Agreement.

          18.     The avocados ordered, sold, and delivered to Marjaba constitute perishable

  agricultural commodities as defined by PACA because the avocados sold were fresh fruit.

          19.     Phawa has performed all obligations related to its sale of avocados to Marjaba and

  all conditions precedent to the commencement of this action have occurred, been excused, or been

  waived.

                                    COUNT I
                PACA VIOLATION: FAILURE TO PAY PROMPTLY IN FULL

          20.     Phawa hereby re-alleges and incorporates by reference paragraphs 1-19 as is fully

  set forth herein.




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            21.   Pursuant to 7 U.S.C. § 499(b)(4), “it shall be unlawful in or in connection with any

  transaction in interstate or foreign commerce…to fail or refuse truly and correctly to account and

  make full payment promptly in respect of any transaction in any such commodity to

  the person with whom such transaction is had.”

            22.   Therefore, PACA requires dealers to make full payment promptly for any

  commodities purchased.

            23.   Marjaba is a dealer that has failed to promptly pay Phawa $93,116.50 for the

  avocados ordered, sold, and delivered to Marjaba.

            24.   This amount is past due at least 127 days, which is well past the net 10 days and

  net 15 days provided for in the Invoices.

            25.   As a direct and proximate result of Defendant Marjaba’s unlawful conduct in failing

  to promptly pay Plaintiff Phawa, Plaintiff has suffered damages which have accrued and are

  continuing to accrue.

            WHEREFORE, the Plaintiff, PHAWA, LLC, respectfully demands judgment against

  Defendant, MARJABA IMPORT & EXPORT CORP., for actual damages of $93,116.50, plus

  prejudgment and post-judgment interest, costs of suit, and for any other relief deemed just and

  proper.

                                              COUNT II
                                         BREACH OF CONTRACT

            26.   Plaintiff hereby re-alleges and incorporates by reference paragraphs 1-19 as is fully

  set forth herein.

            27.   Phawa and Marjaba had a valid agreement as evidenced by the purchase orders,

  invoices, release and shipment of the avocados, and partial payment.




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            28.   Specifically, Marjaba offered to purchase the avocados from Phawa by sending to

  Phawa three separate purchase orders.

            29.   Phawa accepted Marjaba’s offer and released the avocados to Marjaba for

  shipment, which constituted a benefit to Marjaba as the goods were not fully paid for and were

  presumably resold or contracted to be resold to Marjaba’s clients.

            30.   This bargained for agreement constitutes the certain and definitive proposition that

  was offered and accepted by the parties.

            31.   However, Marjaba breached its obligations under the sales agreement by failing to

  fully pay for the total amount of avocados ordered, which totaled $185,943.00.

            32.   Instead, Marjaba only paid $92,826.50 of this amount, and still owes another

  $93,116.50, which is at least 127 days past due and is the amount reflected in the Sales Agreement.

            33.   Phawa has at all times performed the terms of the contract in the manner specified

  in the contract, i.e. by making the avocados available to Marjaba so the same could coordinate

  shipment from Texas to New York.

            34.   As a direct and proximate result of Defendant Marjaba’s failure to pay and refusal

  to perform its obligations under the contract, Plaintiff Phawa has suffered damages which have

  accrued and are continuing to accrue.

            WHEREFORE, the Plaintiff, PHAWA, LLC, respectfully demands judgment against

  Defendant, MARJABA IMPORT & EXPORT CORP., for actual damages of $93,116.50, plus

  prejudgment and post-judgment interest, costs of suit, and for any other relief deemed just and

  proper.




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                                COUNT III – QUANTUM MERUIT

          35.     Plaintiff hereby re-alleges and incorporates by reference paragraphs 1-19 as is fully

  set forth herein.

          36.     In the event that an express contract cannot be proven, Phawa alleges that an

  implied contract exists upon which the Plaintiff performed and the Defendant agreed to pay, and

  thus alleges Quantum Meruit in the alternative.

          37.     First, Phawa provided a benefit to Marjaba by providing it with $185,943.00 worth

  of fresh avocados.

          38.     Second, Marjaba assented to and received a benefit from the shipment of the

  avocados so ordered when Marjaba ordered, retrieved, and accepted the avocados without paying

  the full cost of the goods.

          39.     Marjaba was fully aware that Phawa expected to be compensated for the purchase

  and sale of the avocados in full, as evidenced by the Sales Agreement, the parties’ intent that

  PACA apply to the transaction, and the commercial relationship between both.

          40.     Lastly, a reasonable person in Marjaba’s position would expect to pay reasonable

  compensation for approximately 80 tons of avocados. Likewise, a reasonable person in Phawa’s

  position would expect to receive reasonable compensation for making the goods available for

  delivery as ordered, especially when Marjaba presumably resold or contracted to resell to the same.

          41.     As a direct and proximate result of these breaches, the Plaintiff has suffered

  damages which have accrued and are continuing to accrue.

          WHEREFORE, the Plaintiff, PHAWA, LLC, respectfully demands judgment against

  Defendant, MARJABA IMPORT & EXPORT CORP., for actual damages of $93,116.50, plus




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  prejudgment and post-judgment interest, costs of suit, and for any other relief deemed just and

  proper.

                              COUNT IV – UNJUST ENRICHMENT

            42.   Plaintiff hereby re-alleges and incorporates by reference paragraphs 1-19 as if fully

  set forth herein.

            43.   In the event that the Phawa does not prevail on its legal remedies, such as its PACA

  claim, Breach of Contract claim, or Quantum Meruit claim, the Plaintiff will lack an adequate

  remedy at law, and thus alleges Unjust Enrichment in the alternative.

            44.   Accordingly, it would be inequitable for Marjaba to retain the benefit of the

  avocados without paying Plaintiff the value of the same.

            45.   In addition, Marjaba voluntarily accepted and retained the benefit Phawa conferred

  to the Defendant; after all, Marjaba received and retained the avocados it ordered pursuant to the

  agreement, presumably for resale, but failed to pay Phawa fully for the same.

            46.   Under the circumstances, it would be inequitable to allow Marjaba to retain the

  benefit of keeping 80 tons of avocados without paying the value thereof.

            47.   As a direct and proximate result of these breaches, Plaintiff has suffered damages

  which have accrued and are continuing to accrue.

            WHEREFORE, the Plaintiff, PHAWA, LLC, respectfully demands judgment against

  Defendant, MARJABA IMPORT & EXPORT CORP., for actual damages of $93,116.50, plus

  prejudgment and post-judgment interest, costs of suit, and for any other relief deemed just and

  proper.




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  DATED: June 16, 2021

                                                  Respectfully submitted,

                                                  /s/ Ronald C. Iacone Jr.
                                                  Ronald C. Iacone Jr., Esq.
                                                  Florida Bar No. 115493
                                                  ron@iaconelaw.com
                                                  pleadings@iaconelaw.com
                                                  Iacone Law, P.A.
                                                  2100 Ponce de Leon Blvd., Suite 760
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                                                  Tel: 1.786.773.2045
                                                  Fax: 1.786.773.2046
                                                  Attorney for Plaintiff




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                                                                                                                                            Save As...                    Print                   Reset
                                           CIVIL
              Case 1:21-cv-22208-RKA Document
JS 44 (Rev. 10/20) FLSD Revised 02/12/2021       COVER
                                              1 Entered onSHEET
                                                           FLSD Docket 06/16/2021 Page 10 of 12
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as provided
by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the purpose of initiating
the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.) NOTICE: Attorneys MUST Indicate All Re-filed Cases Below.
                                                                                                                          MARJABA IMPORT & EXPORT CORP., a Florida corporation
I. (a) PLAINTIFFS PHAWA, LLC, a Florida limited liability company                                 DEFENDANTS


   (b)     County of Residence of First Listed Plaintiff     Osceola                                           County of Residence of First Listed Defendant          Broward
                                (EXCEPT IN U.S. PLAINTIFF CASES)                                                                            (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                               NOTE:                    IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                                        THE TRACT OF LAND INVOLVED.
   (c)    Attorneys (Firm Name, Address, and Telephone Number)                                                 Attorneys (If Known)

  Ronald C. Iacone Jr., Esq., Iacone Law, P.A., 2100 Ponce de Leon                                             Christopher J. Malafis, Esq., The Malafis Firm, P.A., 1000
  Blvd., Suite 760, Coral Gables, FL 33134, 1.786.773.2045                                                     Chase Hammock Rd., Merritt Island, FL 32953, 1.786.625.2347
(d) Check County Where Action Arose: MIAMI- DADE  MONROE   BROWARD                                   PALM BEACH      MARTIN     ST. LUCIE     INDIAN RIVER      OKEECHOBEE         HIGHLANDS


II. BASIS OF JURISDICTION                         (Place an “X” in One Box Only)               III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff)
                                                                                                           (For Diversity Cases Only)                                         and One Box for Defendant)
    1    U.S. Government               ■3                   Federal Question                                                        PTF        DEF                                            PTF DEF
           Plaintiff                           (U.S. Government Not a Party)                         Citizen of This State            1           1      Incorporated or Principal Place          4      4
                                                                                                                                                         of Business In This State

    2    U.S. Government                  4                    Diversity                             Citizen of Another State           2          2     Incorporated and Principal Place          5          5
           Defendant                           (Indicate Citizenship of Parties in Item III)                                                                of Business In Another State

                                                                                                     Citizen or Subject of a            3          3     Foreign Nation                            6          6
                                                                                                       Foreign Country
IV. NATURE OF SUIT                   (Place an “X” in One Box Only)                              Click here for: Nature of Suit Code Descriptions
            CONTRACT                                         TORTS                                    FORFEITURE/PENALTY                       BANKRUPTCY                           OTHER STATUTES
   110 Insurance                       PERSONAL INJURY                  PERSONAL INJURY               625 Drug Related Seizure               422 Appeal 28 USC 158                375 False Claims Act
   120 Marine                          310 Airplane                     365 Personal Injury -             of Property 21 USC 881             423 Withdrawal                       376 Qui Tam (31 USC
   130 Miller Act                      315 Airplane Product                 Product Liability         690 Other                                  28 USC 157                        3729 (a))
   140 Negotiable Instrument               Liability                    367 Health Care/                                                                                          400 State Reapportionment
   150 Recovery of Overpayment         320 Assault, Libel &                 Pharmaceutical                                                    PROPERTY RIGHTS                     410 Antitrust
       & Enforcement of Judgment           Slander                          Personal Injury                                                  820 Copyrights                       430 Banks and Banking
   151 Medicare Act                    330 Federal Employers’               Product Liability                                                830 Patent                           450 Commerce
   152 Recovery of Defaulted               Liability                    368 Asbestos Personal                                                835 Patent – Abbreviated             460 Deportation
                                                                                                                                               New Drug Application
                                                                             Injury Product Liability                                        840 Trademark                        470 Racketeer Influenced and
        Student Loans                  340 Marine                                                                                            880 Defend Trade Secrets             Corrupt Organizations
                                                                                                                                              Act of 2016
        (Excl. Veterans)               345 Marine Product                                                         LABOR                       SOCIAL SECURITY                     480 Consumer Credit
                                                                                                                                                                                    (15 USC 1681 or 1692)
   153 Recovery of Overpayment               Liability              PERSONAL PROPERTY                710 Fair Labor Standards                861 HIA (1395ff)                     485 Telephone Consumer
                                                                                                                                                                                  Protection Act (TCPA)
       of Veteran’s Benefits            350 Motor Vehicle              370 Other Fraud                   Act                                 862 Black Lung (923)                 490 Cable/Sat TV
   160 Stockholders’ Suits              355 Motor Vehicle              371 Truth in Lending          720 Labor/Mgmt. Relations               863 DIWC/DIWW (405(g))               850 Securities/Commodities/
■  190 Other Contract                       Product Liability          380 Other Personal            740 Railway Labor Act                   864 SSID Title XVI                   Exchange
   195 Contract Product Liability       360 Other Personal                 Property Damage           751 Family and Medical                  865 RSI (405(g))                     890 Other Statutory Actions
   196 Franchise                            Injury                     385 Property Damage               Leave Act                                                                891 Agricultural Acts
                                        362 Personal Injury -              Product Liability         790 Other Labor Litigation                                                   893 Environmental Matters
                                            Med. Malpractice                                         791 Empl. Ret. Inc.                                                          895 Freedom of Information
      REAL PROPERTY                         CIVIL RIGHTS             PRISONER PETITIONS                  Security Act                        FEDERAL TAX SUITS                    Act
   210 Land Condemnation                440 Other Civil Rights         Habeas Corpus:                                                        870 Taxes (U.S. Plaintiff            896 Arbitration
   220 Foreclosure                      441 Voting                     463 Alien Detainee                                                         or Defendant)                   899 Administrative Procedure
   230 Rent Lease & Ejectment           442 Employment                 510 Motions to Vacate                                                 871 IRS—Third Party 26 USC            Act/Review or Appeal of
                                                                       Sentence                                                              7609                                 Agency Decision
   240 Torts to Land                    443 Housing/                      Other:                                                                                                  950 Constitutionality of State
                                        Accommodations                                                                                                                            Statutes
   245 Tort Product Liability           445 Amer. w/Disabilities -     530 General                        IMMIGRATION
   290 All Other Real Property              Employment                 535 Death Penalty             462 Naturalization Application
                                        446 Amer. w/Disabilities -     540 Mandamus & Other          465 Other Immigration
                                            Other                      550 Civil Rights                  Actions
                                        448 Education                  555 Prison Condition
                                                                       560 Civil Detainee –
                                                                       Conditions of
                                                                       Confinement
V. ORIGIN                  (Place  an “X”  in One  Box Only)
■ 1 Original            2 Removed             3 Re-filed        4 Reinstated         5 Transferred from            6 Multidistrict            7 Appeal to                 8 Multidistrict
      Proceeding             from State          (See VI           or                   another district           Litigation
                                                                                                                                                District Judge              Litigation      9 Remanded   from
                                                                                                                                                                                              Appellate Court
                             Court               below)            Reopened             (specify)                  Transfer
                                                                                                                                                from Magistrate             – Direct
                                                                                                                                                Judgment                    File
VI. RELATED/                              (See instructions): a) Re-filed Case             YES x NO                    b) Related Cases          YES         NO
RE-FILED CASE(S)                                           JUDGE:                                                                               DOCKET NUMBER:
                                          Cite the U.S. Civil Statute under which you are filing and Write a Brief Statement of Cause (Do not cite jurisdictional statutes unless
VII. CAUSE OF ACTION                      diversity): Action for PACA Violation under the Perishable Agricultural Commodities Act ("PACA"), 7 U.S.C. § 499(a), et seq.
                                          LENGTH OF TRIAL via                   days estimated (for both sides to try entire case)
VIII. REQUESTED IN                            CHECK IF THIS IS A CLASS ACTION                                            93,116.50
                                                                                                        DEMAND $                                    CHECK YES only if demanded in complaint:
    COMPLAINT:                                UNDER F.R.C.P. 23
                                                                                                                                                 JURY DEMAND:                       Yes         No
ABOVE INFORMATION IS TRUE & CORRECT TO THE BEST OF MY KNOWLEDGE
DATE                                                                          SIGNATURE OF ATTORNEY OF RECORD
         June 16, 2021
                                                                                                          /s/ Ronald C. Iacone Jr., Esq.
FOR OFFICE USE ONLY : RECEIPT #                             AMOUNT                             IFP                 JUDGE                                 MAG JUDGE
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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                               for the

                                                    Southern District
                                                 __________  District of
                                                                      of Florida
                                                                         __________

   PHAWA, LLC, a Florida limited liability company                )
                                                                  )
                                                                  )
                                                                  )
                            Plaintiff(s)                          )
                                                                  )
                                v.                                       Civil Action No.
                                                                  )
Marjaba Import & Export Corp., a Florida Corporation
                                                                  )
                                                                  )
                                                                  )
                                                                  )
                           Defendant(s)                           )

                                                 SUMMONS IN A CIVIL ACTION
                                       Marjaba Import & Export Corp.
To: (Defendant’s name and address) c/o Taxes USA LLC
                                       Registered Agent
                                       11402 NW 41st Street
                                       Suite 211
                                       Doral, FL 33178


          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
                                Iacone Law, P.A.
whose name and address are: Ronald C. Iacone Jr., Esq.
                                       2100 Ponce de Leon Blvd., Suite 760
                                       Coral Gables, FL 33134
                                       ron@iaconelaw.com
                                       pleadings@iaconelaw.com


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                             CLERK OF COURT


Date:
                                                                                      Signature of Clerk or Deputy Clerk
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AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:




           Print                       Save As...                                                                      Reset
